        Case 1:23-cr-00430-KPF               Document 71-1        Filed 08/08/24     Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
UNITED STATES OF AMERICA,                                     :
                                                              :
                          Plaintiff,                          : Hon. Katherine Polk Failla
                                                              :
        v.                                                    : No. 1:23-cr-00430-KPF
                                                              :
ROMAN STORM and ROMAN SEMENOV,
                                                              :
                          Defendants.                         :
                                                              :
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      DECLARATION OF TESSA GELLERSON PURSUANT TO LOCAL RULE 1.4

        I, Tessa Gellerson, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746,

that the following is true and correct:

        1.       Amicus curiae the Blockchain Association is represented in this matter by the law

firm of Gibson, Dunn & Crutcher LLP (“Gibson Dunn”). I am one of the counsel of record for

the Blockchain Association.

        2.       On August 8, 2024, I am departing Gibson Dunn.

        3.       Because other lawyers at Gibson Dunn will continue to represent the Blockchain

Association in this case, my withdrawal will not prejudice the Blockchain Association.

          I respectfully request that the Court enter the accompanying Order allowing me to

withdraw as counsel of record for the Blockchain Association.

        Dated: August 8, 2024

                                                     _/s/ Tessa Gellerson_______
                                                     Tessa Gellerson




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